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10
                                      UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN FRANCISCO DIVISION
13
                                                       )
14   UNITED STATES OF AMERICA,                         )   No.: CR 18-0119 RS
                                                       )
15           Plaintiff,                                )
                                                       )   STIPULATION AND ORDER CONTINUING
16      v.                                             )   MOTION HEARING AND ADJUSTING
                                                       )   BRIEFING SCHEDULE, WITH EXCLUSION OF
17   JONATHAN AGUILAR, et al.                          )   TIME
         Defendants.                                   )
18                                                     )
                                                       )
19

20           IT IS HEREBY STIPULATED that,
21           For the reasons set forth below, the parties request (1) a continuance of the next hearing date, at
22 which Round 2 motions and a status conference are to be heard, from March 29, 2022 to June 14, 2022;

23 (2) a corresponding continuance of the briefing schedule for Round 2 motions; and (3) an exclusion of

24 time under the Speedy Trial Act from March 29, 2022 (through which Speedy Trial Act exclusions have

25 already been ordered) through June 14, 2022.

26           On January 20, 2022, the parties appeared before the Honorable Joseph C. Spero for a hearing on
27 “Round 1” discovery motions. (Dkt. 251-253, 264-267, 279-281, 426.) On February 14, 2022, Judge

28 Spero issued a discovery order disposing of the motions addressed at the January 20 hearing. (Dkt.
     STIP AND [PROPOSED] ORDER                         1
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 1 429.)

 2          Further, the government has informed the defense of potential developments that could moot one

 3 or more of the defense’s contemplated Round 2 motions. These potential developments could facilitate

 4 the resolution of the case as to one or more defendants.

 5          The parties now respectfully request that this Court continue the Round 2 motions schedule by

 6 approximately 11 weeks, to June 14, 2022. The parties also seek a corresponding Speedy Trial Act

 7 exclusion through June 14, 2022. The grounds for the requested continuance and exclusion are as

 8 follows:

 9          On December 10, 2021, the government produced to the defense over 19,000 pages of medical

10 records concerning approximately twelve victims. The government is preparing a second production of

11 medical records for a second and final group of victims. The defense needs time to review the discovery

12 already produced and soon to be produced.

13          The parties need time to consider the potential developments in the posture of the case and how

14 those developments affect the motions to be filed and the possibility of resolving the case.

15          Based on the above, the parties respectfully request that the Court continue the Round 2 motion

16 briefing schedule as follows:

17          Defense Filing Date: May 10, 2022

18          Government Oppositions: May 31, 2022

19          Defense Replies: June 7, 2022

20          Motion Hearing Date: June 14, 2022 at 9:30 a.m.

21          The parties agree that, in light of the above, the ends of justice served by granting a continuance

22 through and including June 14, 2022, outweigh the best interest of the public and the defendants in a

23 speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A). The parties also agree that this case is so

24 complex, due to the number of defendants and the nature of the prosecution, that it is unreasonable to

25 expect adequate preparation for pretrial proceedings and for the trial itself within the otherwise-

26 applicable time limits, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii).

27          The parties further agree that failure to grant the continuance would unreasonably deny defense

28 counsel the reasonable time necessary for effective preparation, taking into account the exercise of due
     STIP AND [PROPOSED] ORDER                        2
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 1 diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).

 2
           SO STIPULATED.
 3
     Dated: February 18, 2022                           STEPHANIE M. HINDS
 4                                                      United States Attorney

 5
                                                  By:          /s/
 6                                                      ANDREW M. SCOBLE
                                                        RICHARD EWENSTEIN
 7                                                      Assistant United States Attorneys

 8
     Dated: February 18, 2022                                         /s/
 9                                                      MARTHA BOERSCH
                                                        Counsel for Jonathan Aguilar
10

11 Dated: February 18, 2022                                            /s/
                                                        JULIA MEZHINSKY JAYNE
12                                                      Counsel for Juan Carlos Gallardo

13

14 Dated: February 18, 2022                                            /s/
                                                        HARRIS BRUCE TABACK
15                                                      Counsel for Orlando Carlos Hernandez

16 Dated: February 18, 2022                                           /s/
                                                        MARK GOLDROSEN
17                                                      PAM HERZIG
                                                        DONALD KNIGHT
18                                                      AMY P. KNIGHT
                                                        Counsel for Michael Rebolledo
19

20 Dated: February 18, 2022                                          /s/
                                                        GEORGE C. BOISSEAU
21                                                      Counsel for Mario Reyes

22 Dated: February 18, 2022                                           /s/
                                                        SHAFFY MOEEL
23                                                      JAMES S. THOMSON
                                                        Counsel for Eddy Urbina
24

25 Dated: February 18, 2022                                          /s/
                                                        GAIL SHIFMAN
26                                                      Counsel for Weston Venegas

27

28
     STIP AND [PROPOSED] ORDER                     3
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 1                                                    ORDER

 2          THE COURT ORDERS THAT the previous briefing schedule for the second round of motions is

 3 continued as follows:

 4          Defense Filing Date: May 10, 2022

 5          Government Oppositions: May 31, 2022

 6          Defense Replies: June 7, 2022

 7          Motion Hearing Date: June 14, 2022 at 9:30 a.m.

 8          THE COURT ORDERS THAT a status hearing is also set for June 14, 2022, at 9:30 a.m.

 9          THE COURT FINDS THAT the ends of justice served by granting a continuance from March

10 29, 2022, through and including June 14, 2022, outweigh the best interest of the public and the

11 defendants in a speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7)(A).

12          THE COURT FURTHER FINDS THAT this case is so complex, due to the number of

13 defendants and the nature of the prosecution, that it is unreasonable to expect adequate preparation for

14 pretrial proceedings and for the trial itself within the otherwise-applicable time limits, within the

15 meaning of 18 U.S.C. § 3161(h)(7)(B)(ii).

16          THE COURT FURTHER FINDS THAT, to allow time for the parties to address ongoing

17 discovery issues which, in turn, will affect pretrial motions, failure to grant the continuance would

18 unreasonably deny defense counsel the reasonable time necessary for effective preparation, taking into

19 account the exercise of due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).

20          Accordingly, THE COURT ORDERS THAT, the period from March 29, 2022 through and

21 including June 14, 2022 (the date of the next hearing in this case) is excluded from the otherwise

22 applicable Speedy Trial Act computation, pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(ii) & (B)(iv).

23          IT IS SO ORDERED.

24
     DATED: 2/22/2022
25                                                                HON. RICHARD SEEBORG
                                                                  UNITED STATES DISTRICT JUDGE
26

27

28
     STIP AND [PROPOSED] ORDER                        4
     [CR 18-0119 RS]
